Case 1:04-cv-01284-.]DT-de Document 33 Filed 08/29/05 Page 1 of 2 Page|D 32

IN THE UNITED STATES DISTRICT COURT 03 064/4 4
FOR THE WESTERN DISTRICT 0F TENNESSEE 456 \§/

EASTERN DIVISION ¢?5 <°.s>
CAROLYN v. SCOTT, INDIVIDUALLY, '(??:‘:i.g;j>f};@ 6-"¢ '
AND AS NEXT OF FRIEND OF /45:§;<'/) 4
DE HAWN TT "V
S SCO , @4//45_
Plaintiff,
vS, No. 04-1234-T

WILLIAM ROGERS, CHRISTINE
ROGERS; and BETH MCCLURE d/b/a
REALTY SHOPPE,

Defendants.

ORDER OF REFERENCE

The above-styled case is hereby referred to United States Magistrate Judge Themas

Anderson for a new Schedu]ing order.

IT IS SO ORDERED.

©Wwb-M

JA S D. TODD
UN ED STATES DISTRICT JUDGE

§§er

DATE 0

This document entered on the docket § _ ` §§5[\_00
with Ru|e 58 and!or_?S {a) FF|CP on

 

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Honorable J ames Todd
US DISTRICT COURT

